Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 1 of 8




               EXHIBIT 44
               EXHIBIT
    Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 2 of 8




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 RESIDENTIAL
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TRANSITION
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GUIDE
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A COMPREHENSIVE GUIDE TO THE ACTIVITIES
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REQUIRED DURING THE TRANSITION




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          PARTNERSHIP FOR PUBLIC SERVICE                          BOSTON
    III                                                           CONSULTING
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          CENTERfor                   %*-(.(+*
                      PRESIDENTIAL TRANSITION                     GROUP
   Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 3 of 8




The
Q_\& Partnership    for Public
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                                 P\im`Z\& `j& k_\& only   nonpartisan, efegif%k&
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dedicated to achieving a more effective and innovative government for our country. Kfk&
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bigger or smaller government, just smarter. We do so by focusing our efforts on improving
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the leadership capacity of our federal agencies and the systems that support them.
The  Partnership teams
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                                                       Xe[& fk_\i& jkXb\_fc[\ij& to  make our
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government
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              more effective and efficient. We pursue this goal by:
{    Providing assistance to federal agencies to improve their management and
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     operations,  and to strengthen their leadership capacity.
{    Promoting accountability by generating research on, and effective responses to, the
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     workforce   challenges facing our federal government.
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{    Advocating   for needed legislative and regulatory reforms to strengthen the civil
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     Identifying and celebrating government's successes so they can be replicated across
     government.
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     Conducting outreach to college campuses and job seekers to promote public
     service.
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The  Partnership relies on the generosity of donors to carry out these activities, and we
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invite others to join in support of this important effort.
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BCG   is a global management consulting firm dedicated to advising clients in the private,
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public and not-for-profit sectors. Founded in 1963, BCG is a private company with offices
in more than 90 cities in 50 countries. We partner with our clients to identify their highest-
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secure  lasting results. We continue to seek to be agents of positive change—for our clients,
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our  people, and the greater society in the excellence of our work and the opportunities
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our  public sector clients. We are recognized as a Best Place to Work in industry and are
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learn  more, visit bcg.com.

                           BOSTON
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Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 4 of 8
                                                                >` Yh l] j!3
                                                                Chapter       Nm h h g jlaf _ !l`
                                                                           6—Supporting        the] !Kj] k a\ ] f l*] d] [ l
                                                                                                     President-elect




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CHAPTER 6




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Supporting  the
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President-elect
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The roughly 75 days between election and inauguration will be an exceptionally
Yljp& time
busy  k`d\& ]fi& k_\& gi\j`[\ek-\c\Zk,&
             for the                       n_fj\& [Xpj&
                        president-elect, whose            Xe[& e`^_kj&
                                                    days and           n`cc& be
                                                               nights will   Y\& filled
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ternal  meetings, travel, intelligence briefings, public events, personnel decisions
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and  finalizing the policy agenda for the first 100 and 200 days of the presidency.
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Q_`j&Z_Xgk\i&]fZlj\j&fe&k_\&i`^fiflj&gcXee`e^&i\hl`i\[&kf&\ejli\&k_\&ile-lg&kf&
This chapter focuses on the rigorous planning required to ensure the run-up to
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the inauguration will effectively meet the needs of the president-elect and lay the
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groundwork     ]fi& aX& successful
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                                                    new administration.    While somejfd\& [\Z`-
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sions,  by e\Z\jj`kp,&   n`cc& Y\&
            necessity, will        dX[\& X]k\i&
                               be made           k_\& Kfm\dY\i&
                                         after the    November \c\Zk`fe,&    planning for
                                                                 election, gcXee`e^&    ]fi& the
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president-elect's schedule       Xe[& the
                                      k_\& timelines
                                            k`d\c`e\j& for
                                                       ]fi& various
                                                            mXi`flj& [\Z`j`fej&   j_flc[& begin
                                                                     decisions should     Y\^`e&
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well before the ballots are cast.

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FUNDAMENTALS OF THE PRESIDENT-ELECT'S SCHEDULE

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The gi\j`[\ek-\c\Zkxj&      k`d\& `j&
       president-elect's time       is aX& c`d`k\[&
                                           limited i\jfliZ\&     k_Xk& dljk&
                                                      resource that     must beY\& `em\jk\[&   n`j\cp.&
                                                                                    invested wisely.
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Scheduling                Xi\& `e]fid\[&
                choices are    informed by    Yp& X& mXi`\kp& of
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style,  relationships, and the priorities and agenda set during the campaign. These
and other factors must be weighed in designing a forward-looking, high-impact
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schedule.              jlZ_& X&
             Ideally, such       jZ_\[lc\& Xc`^ej&
                              a schedule       aligns \e^X^\d\ekj,&
                                                        engagements, flki\XZ_,&       Yi`\%e^j& and
                                                                          outreach, briefings    Xe[&
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other meetings to   kf& the
                        k_\& gi\j`[\ek-\c\Zkxj&
                             president-elect's b\p&i\jgfej`Y`c`k`\j&
                                                     key responsibilities [li`e^&                   It
                                                                                       kiXej`k`fe.& Fk&
                                                                              during transition.
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is critical that the president-elect selects personnel, refines priorities and builds
           with key stakeholders during this time.
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support
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     The nature of the transition support has varied based on what works best for
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the  president-elect. It is important, therefore, to understand the president-elect's
work    style, including their preferred manner of receiving information and who
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          be included in meetings.
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should
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     George W.  T.& ?lj_xj&  kiXej`k`fe& team
                    Bush's transition        k\Xd& [`[&
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                                            Readiness Project      envisioned X& a [`$\i\ek&
                                                                                    different df[\c.&
                                                                                               model.

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       Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 5 of 8
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Presidential Transition Guide


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    The president-elect support team designed a strategic 75-day calendar to help
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    advance the new administration's goals. Their work included everything from
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    the                     jZ_\[lc`e^& Xe[&
         president-elect's scheduling        ykiXej`k`fe& T_`k\&
                                        and "transition          Eflj\& [\j`^ez&
                                                          White House            kf& @XY`-
                                                                        design" to   Cabi-
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    net preparation and assistance for the vice president-elect and the incoming first
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    lady. The Barack Obama transition team planned a detailed schedule, but the ex-
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    igencies of the financial crisis resulted in a new plan for the president-elect after
    k_\&\c\Zk`fe.
    the election.

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Political functions
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  A  good portion of the president-elect's time between the election and the in-
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  auguration will be taken up by traditional events and formal functions. These
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  include g\ijfee\c&
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  ures and meeting with the defeated opponent and with the outgoing president.


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Romney president-elect support: organizational chart

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IGA=Intergovernmental Affairs, PE=President-elect, VPE=Vice President-elect, FLE=First Lady-elect




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                                                      llilaect Support



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Source: Michael 0. Leavitt, Christopher Liddell, Daniel Kroese and Clark Campbell, "Romney Readiness Project 2012:
euusyu9=9_u~9_uq~utB9eHcB9\~sDB9HFGIB9KND
Retrospective & Lessons Learned," R2P, Inc., 2013, 58.


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                                               Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 6 of 8




      FJ[RX^\#][JW\R]RXW#JYY[XJLQN\
      Various transition approaches


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      Transition approaches are influenced by each president-elect's personal style, and strategic focus of the day.

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                                                                           G.W. BUSH                                          bUT`T
                                                                                                                              OBAMA                                            geh`c
                                                                                                                                                                               TRUMP

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       Location            9
                           • Uqut9y~9T{q~qQ99ryuvB99
                              Based in Arkansas; two brief,                9
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                                                                              Late move (delayed result; preference           9
                                                                                                                              • Uqut9y~9\||y~yB9r
                                                                                                                                 Based in Illinois, but9uq|9WV9}u9v9
                                                                                                                                                         early DC move for     9
                                                                                                                                                                               • Uqut9y~9g  }9gu9y~9au9l{9Vy
                                                                                                                                                                                  Based in Trump  Tower in New York City
       rtghgtgpegu
       preferences            xywxCy}qs9WV9y
                              high-impact DC trips                            9q9 ytu9WV?
                                                                              to stay outside DC)                                tq  wxu9sx|
                                                                                                                                 daughters'    school                          9 V~t sut9}uuy~w9q~t9y~uyu9yx9
                                                                                                                                                                               • Conducted    meetings and interviews with
                           9 fuuq|9y99xu9qu
                           • Several  trips to other states                9
                                                                           • Y|u9q{ux|tuB9}u}ru9v9
                                                                              Flew stakeholders, members of                   9 f|y9q~yy~9,su9}tu|9>\||y~y9q~t9
                                                                                                                              • Split  transition office model (Illinois and      u~yq|9~}y~uu9q9xy9uyu9y~9
                                                                                                                                                                                  potential nominees at his properties in
                                                                              V~wu99guq
                                                                              Congress  to Texas                                 WV?
                                                                                                                                 DC)                                              Uut}y~yuB9a]9q~t9cq|}9UuqsxB9Y_
                                                                                                                                                                                  Bedminister, NJ and Palm Beach, FL

       Vgtuqppgn0
       Personnel           9
                           • [ywx|9s~   |qyu9qqsxQ9xywx9
                              Highly consultative  approach; high          9 b,syq|9suu9tu|qut9
                                                                           • Official                      ~y|9
                                                                                       processes delayed until                9
                                                                                                                              • Xu~yu9yu~9q|ysqy~9su9
                                                                                                                                 Extensive written application process         9 Ty~ut9xhundreds
                                                                                                                                                                               • Appointed      ~tut9v9,syq|9{~~9
                                                                                                                                                                                                        of officials known
       ugngevkqp
       selection
                              uytu~Cu|us9u~wqwu}u~9y~9y~uyu9
                              president-elect engagement in interviews        uytu~Cu|us9tus|qutB9r
                                                                              president-elect declared, but9xuqy~w9
                                                                                                             hearings         9
                                                                                                                              • Wqy|9q~~   ~su}u~9>jxyu9[
                                                                                                                                 Daily announcements    (White House u9          q9ruqsxxuqt9qy~uu9
                                                                                                                                                                                  as "beachhead" appointees usingy~w9
                              >y~s| ty~w9|C|uu|9jxyu9[
                              (including                      u?
                                         low-level White House)               uutyut99u~
                                                                              expedited          u9uqty~u9~9]q~D9
                                                                                          to ensure readiness on Jan.            xu~9Vqry~u?
                                                                                                                                 then Cabinet)                                    u}q9q~yy~9q   xyyu
                                                                                                                                                                                  temporary transition authorities
                           9
                           • T~~    ~su}u~9}qtu9|qu9y~9r|s{
                              Announcements      made later in blocks-        HFD
                                                                              20.                                             9
                                                                                                                              • T~~    ~sut9y~9ys9s|
                                                                                                                                 Announced                u99suqu9
                                                                                                                                             in "topic clusters" to create     9
                                                                                                                                                                               • ^u9xu9   r|ys9y~v}ut9qr
                                                                                                                                                                                  Kept the public  informed about9
                              Vqry~u9xu~9jxyu9[
                              Cabinet  then White House u                 9
                                                                           • jxyu9[
                                                                              White House u9q~t9Vqry~u9
                                                                                             and Cabinet                         u9  ~yyu9q~t9vq}u9|ysyu
                                                                                                                                 press opportunities  and frame policies          y~uyu9q~t9u|usy~9v99
                                                                                                                                                                                  interviews and selections of top
                           9
                           • c}y~9v9     ssuyu9q~yy~9
                              Promotion of successive    transition           q~~ ~su}u~9}qtu9qyt|B9y~9
                                                                              announcements     made rapidly, in                                                                  qy~uu9
                                                                                                                                                                                  appointees
                              |uqt99Vqry~u
                              leads to Cabinet                                qq||u|
                                                                              parallel

       Vqnke{0hqewu
       Policy focus        9 V}}u~q9~9rqt9q~wu9v9ysq|9
                           • Commentary     on broad range of topical      9
                                                                           • [uq9u}xqy9~9us~}9q~t9
                                                                              Heavy emphasis on economy and                   9
                                                                                                                              • W}y~qut9r9us~}ys9syy
                                                                                                                                 Dominated by economic crisis                  9 Vuqut9v
                                                                                                                                                                               • Created    four9zy~9q{9vsu9v9qwu~s9
                                                                                                                                                                                                  joint task forces of agency
                              y u9>y~s|
                              issues       ty~w9us~}9q~t9vuyw~9
                                     (including economy and foreign           ut sqy~
                                                                              education                                       9 Uqs{qt9}qy~w9v9{u9vuyw~9
                                                                                                                              • "Backward    mapping" of key foreign              qsy~9q~t9|ys9uq}9}u}ru99
                                                                                                                                                                                  action and policy team members to
                              |ys?
                              policy)                                      9
                                                                           • Xq~tut9    }}y9v}q9>r
                                                                              Expanded "summit"                 y~uB9
                                                                                                    format (business,            q~t9t}uys9uu~99yyyu9|ys9
                                                                                                                                 and  domestic events to prioritize policy        qs{|u9{u9sCs     y~w9y
                                                                                                                                                                                  tackle key cross-cutting         uB9xysx9
                                                                                                                                                                                                               issues, which
                           9
                           • hut9    }}y9qqsx9>us~}ys?
                              Used "summit"   approach (economic)             usx~|wB9ut   sqy~B9qwys
                                                                              technology, education,         | u?Q9 used
                                                                                                       agriculture);   ut9      >uDwDB9gTec?
                                                                                                                                 (e.g., TARP)                                     y~s| tut9U
                                                                                                                                                                                  included   "Buy9T}uysqB9}u~9q~t9
                                                                                                                                                                                                    America," women and
                                                                              9y~v}9|ys
                                                                              to inform policy                                9
                                                                                                                              • hut9Vqry~u9q~~   ~su}u~9q9|ys9
                                                                                                                                 Used Cabinet announcements      as policy        sxy|tu~B9y~u||us
                                                                                                                                                                                  children,             q|9u9q~t9
                                                                                                                                                                                             intellectual  property and
                                                                                                                                 |qv}
                                                                                                                                 platforms                                        s u~s9}q~y
                                                                                                                                                                                  currency            |qy~
                                                                                                                                                                                             manipulation

       Iqpitguu0cpf0       9 V~wu9s}uut9y~99ryuvB9
                           • Congress   compressed into two brief,         9 fyw~y-sq~9
                                                                           • Significant    uqsx99~9qQ9}u9
                                                                                         outreach   to own party; some 9 • _u9u}xqy9~9V~wu9t
                                                                                                                             Less emphasis on Congress due   u99
                                                                                                                                                               to              9 Vuqut9q~9,su99uu9q9xu9-9y~9
                                                                                                                                                                               • Created   an office to serve as the first point




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       Congress and




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       uvcmgjqnfgt            xywxCy~u~y9WV9yy
                              high-intensity DC visits                        9Wu}sq
                                                                              to Democrats                                   qyq~9yvB9x wx9}u9y~9]q~
                                                                                                                             partisan rifts, though               q9
                                                                                                                                                    more in January               v9s~qs9yx9xu9r
                                                                                                                                                                                  of                      y~u9s}}
                                                                                                                                                                                     contact with the business           ~yB9
                                                                                                                                                                                                                 community,




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       stakeholder
       qwvtgcej
       outreach            9 fyw~y-sq~9u.9yx9uu~q|9
                           • Significant effort with external              9
                                                                           • ^u9q{ux|tu9yyut9guq
                                                                              Key stakeholders visited Texas                 t u99syy
                                                                                                                             due  to crisis                                       qsyqy~9q~t9xu9wq~yqy~
                                                                                                                                                                                  associations and other organizations
                              q{ux|tu9>uDwDB9r
                              stakeholders           y~u9|uqtu9q~t9
                                            (e.g., business leaders and    9 iysu9uytu~9s~t
                                                                           • Vice                   sut9}
                                                                                   president conducted   muchsx9 uqsx9 9
                                                                                                                outreach  • gq~yy~9uq}9s~t    sut9}
                                                                                                                             Transition team conducted   muchsx9~9
                                                                                                                                                                on             9
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                                                                                                                                                                                  Held 28 listening sessions between




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                              ru~uvqs?
                              benefactors)                                    q9uytu~Cu|us99y~9WV
                                                                              as president-elect's "proxy" in DC             uytu~Cu|us9ruxq|v
                                                                                                                             president-elect's behalf                             WusD9G9q~t9]q~D9GI99xuq9qr
                                                                                                                                                                                  Dec.1 and Jan. 13 to hear about9|ys9
                                                                                                                                                                                                                       policy




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                                                                                                                                                                                  s~su~
                                                                                                                                                                                  concerns

       Sgfkc0cpf
       Media and           9 fyw~y-sq~9vs
                           • Significant focus9~9}utyq9q~t9 r|ys9
                                                on media and public        9 f~w9 use
                                                                           • Strong    u9v9x9Q9qt9xs9u9
                                                                                          of photo ops; ad hoc press          9
                                                                                                                              • T~~    ~su}u~9q~t9ur9ytu9q9
                                                                                                                                 Announcements   and web videos as         9 fq.9xu|t9tqy|9q~yy~9ryu-~w9sq||9
                                                                                                                                                                           • Staff  held daily transition briefing calls
       rwdnkekv{              quqq~su9>y~s|
                              appearances        ty~w9uusxu9q~t9
                                           (including speeches and            y~uqsy~
                                                                              interaction                                        |ys9uxys|u
                                                                                                                                 policy vehicles                              yx9xu9}utyq
                                                                                                                                                                              with the media




                                                                                                                                                                                                                                                               _ !l`
       publicity




                                                                                                                                                                                                                                                                  the
                              uu~?
                              events)                                                                                         9 fqwwuut9quqq~su99q9y~9
                                                                                                                              • Staggered                            r|ys9 9
                                                                                                                                            appearances to stay in public     bssqy~q||9ryuvut9uu9q{ut9
                                                                                                                                                                           • Occasionally   briefed reporters staked




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                                                                                                                                 eye                                           9q9g
                                                                                                                                                                              out       }9gu
                                                                                                                                                                                  at Trump   Tower




                                                                                                                                                                                                                                                                        President-elect
                                                                                                                                                                           9 V}} ~ysqut9vu
                                                                                                                                                                           • Communicated            u~|9yx9xu9
                                                                                                                                                                                               frequently  with the




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                                                                                                                                                                              public       wx9u~q|9gyu9qss
                                                                                                                                                                                     through   personal Twitter account~
GNK




      YqwtegE0U~9V~
      Source:             |y~w9Z
              Boston Consulting     9q~q|y
                                Group analysis
                             Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 7 of 8
Kj]ka\]flaYd!OjYfkalagf!Bma\]
Presidential Transition Guide


                            PkXk\& Xe[&
                            State        cfZXc& flki\XZ_&
                                   and local    outreach Xcjf&
                                                          also gcXpj& Xe& `dgfikXek&
                                                               plays an   important ifc\.&  PkXk\& and
                                                                                      role. State  Xe[& local
                                                                                                        cfZXc& govern-
                                                                                                                ^fm\ie-
                            d\ekj&
                            ments ZXe&
                                     can gifm`[\&
                                          provide aX& g`g\c`e\&
                                                      pipeline f]&
                                                                of gfk\ek`Xc&
                                                                   potential efd`e\\j&
                                                                              nominees Xe[&    j\im\& as
                                                                                          and serve   Xj& aX& source
                                                                                                              jfliZ\& f]&
                                                                                                                      of
                            gfc`Zp&
                            policy `[\Xj.&
                                     ideas. Fe& 2008,& the
                                             In 2008,  k_\& Obama
                                                            LYXdX& transition
                                                                    kiXej`k`fe& _X[& Xe& `ek\i^fm\ied\ekXc&
                                                                                had an                           X$X`ij&
                                                                                         intergovernmental affairs
                            j_fg&k_Xk&Zffi[`eXk\[&k_`j&Zfddle`ZXk`fe&Xe[&flki\XZ_.&Fe&2016,&jkXk\&Xe[&cf-
                            shop  that coordinated this communication and outreach. In 2016, state and lo-
                            ZXc&\ek`k`\j&n\i\&X&gi`fi`kp&f]&k_\&Qildg&kiXej`k`fexj&L#Z\&f]&KXk`fen`[\&Be-
                            cal entities were a priority of the Trump transition's Office of Nationwide En-
                            ^X^\d\ekxj&c`jk\e`e^&j\jj`fej.
                            gagement's     listening sessions.
                                 During    this period, it is best practice for the president-elect and the staff
                                 Ali`e^&k_`j&g\i`f[,&`k&`j&Y\jk&giXZk`Z\&]fi&k_\&gi\j`[\ek-\c\Zk&Xe[&k_\&jkX$&
                            kf&le[\ijkXe[&k_\&i\c\mXek&gifkfZfcj&Xe[&X[_\i\&kf&k_\&[\dfZiXk`Z&Zljkfd&k_Xk&
                            to understand the relevant protocols and adhere to the democratic custom that
                            k_\i\&`j&fecp&fe\&gi\j`[\ek&Xk&X&k`d\,&\jg\Z`Xccp&`e&ZfekXZkj&n`k_&]fi\`^e&c\X[\ij.&
                            there  is only one president at a time, especially in contacts with foreign leaders.
                            Q_\&kiXej`k`fe&k\Xd&j_flc[&Xcjf&XZbefnc\[^\&Xe[&nfib&n`k_&k_\&flk^f`e^&X[-
                            The transition team should also acknowledge and work with the outgoing ad-
                            ministration to ensure the government is always speaking with one voice, espe-
                            d`e`jkiXk`fe&kf&\ejli\&k_\&^fm\ied\ek&`j&XcnXpj&jg\Xb`e^&n`k_&fe\&mf`Z\,&\jg\-
                            Z`Xccp&fe&dXkk\ij&f]&eXk`feXc&j\Zli`kp&Xe[&]fi\`^e&gfc`Zp.&Mi\j`[\ek-\c\Zk&AfeXc[&
                            cially on matters of national security and foreign policy. President-elect Donald
                            Qildg&[\m`Xk\[&]ifd&k_`j&kiX[`k`fe&`e&X&A\Z\dY\i&k\c\g_fe\&ZXcc&n`k_&k_\&QX`-
                            Trump deviated from this tradition in a December telephone call with the Tai-
                            nXe\j\&c\X[\i,&Xe[&`e&_`j&cXk\i&Zi`k`Z`jd&f]&k_\&LYXdX&X[d`e`jkiXk`fexj&[\Z`j`fe&
                            wanese    leader, and in his later criticism of the Obama administration's decision
                            efk&kf&m\kf&X&Re`k\[&KXk`fej&i\jfclk`fe&Zi`k`ZXc&f]&FjiX\cxj&j\kkc\d\ekj.
                            not to veto a United Nations resolution critical of Israel's settlements.
                                 Fe& k_\&2008-2009&gfjk-\c\Zk`fe&
                                 In the   2008-2009 post-election g\i`f[,&Mi\j`[\ek-\c\Zk&LYXdX&b\gk&
                                                                       period, President-elect Obama kept hl`\k&  quiet
                            on emerging foreign policy crises, but was outspoken on the financial crisis and
                            fe&\d\i^`e^&]fi\`^e&gfc`Zp&Zi`j\j,&Ylk&nXj&flkjgfb\e&fe&k_\&%eXeZ`Xc&Zi`j`j&Xe[&
                            his plans for the nation's financial recovery.
                            _`j&gcXej&]fi&k_\&eXk`fexj&%eXeZ`Xc&i\Zfm\ip.



A[N\RMNW](NUNL]#]RVN#\]^Mb
President-elect time study

 9\\_SQdY_^c&fQbi&WbUQd\i&QSb_cc&V_eb&`bUcYTU^d*U\USd&dbQ^cYdY_^c+&LXYc&Yc&\QbWU\i&TeU&d_&TY"UbU^d&
 Allocations vary greatly across four president-elect transitions. This is largely due to different
 Y^fUcd]U^dc&Y^&]UUdY^Wc)&`Ubc_^Q\&g_b[&Q^T&dY]U&_"+
 investments in meetings, personal work and time off.

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                                                                                                      Vacation*
                            5//
                            100                                                                     ❑ juu{u~t)q~t)u~q|@
                                                                                                      Weekend and personal*
                                                                                                    ❑ cu~q|){(xy~{)y}u@
                                                                                                      Personal work/think time*
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                                                                                                        "Behind-the-scenes"
                             2/
                             80                                                                     ❑    }uuy~w@
                                                                                                         meetings*
Estimatedpercent of time
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                                                                                                    ❑ Security briefings
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                                                                                                        Election strategy/
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                             60                                                                     ❑
                                                                                                        wu~}u~){)>U  x?
                                                                                                        government work (Bush)

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                                                                                                    ■ Speeches/media
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                                                                                                    ❑ Stakeholder   uqsx
                                                                                                                  outreach
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                                                                                                    ❑ Congress   uqsx
                                                                                                               outreach

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                                                                                                    ❑ Ceremonial
                             4/
                             20                                                                     ❑ cu~~u|)q~~  ~su}u~)
                                                                                                      Personnel announcements
                                                                                                      q~t)u)s~vuu~su
                                                                                                      and press conferences

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                                                                                                    ❑ Cross-country travel (Reagan)
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                                                                                                      Public appearances
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                                   Reagan     V|y~~
                                              Clinton     U x)9
                                                          Bush         U  x)9
                                                                       Bush      brq}q
                                                                                 Obama   g }
                                                                                         Trump
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                                                                      (after)
                                                      ys)sq||?
                                                      victory call)

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*Categories      ~qss ~ut9y~9
            are unaccounted      r|ys9ust9q~t9qu9uy}qut
                            in public records and are estimated
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  Source:  Time studyt9q~q|y9rqut9~9xyysq|9ust9v9 r|ysCvqsy~w9y}u9q~t9q
                        analysis based on historical records of public-facing               }y~99tyu9
                                                                              time and assumptions             ~qss ~ut9
                                                                                                    to drive unaccounted
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  activities       ty~w9GFC99GHCx
             (including 10- or 12-hour9{9tqB9uu{u~t9q~t9qsqy~9y}u9.9yx9usuy~B9uw    |q9y~u||ywu~su9ryu-~wB9
                                        work days, weekend and vacation time off with exceptions, regular   intelligence briefings,
  uq9u~~u|9q~t9|ys9}uuy~w9tqy|?D9Wuqy|ut9q    }y~9y~s|
  extra personnel and policy meetings daily). Detailed assumptions           tut9y~9rqs{
                                                                        included         D
                                                                                 in backup.



GNL9
Case 1:17-cr-00232-EGS Document 225-4 Filed 06/10/20 Page 8 of 8
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                                                                             Chapter       Nm h h g jlaf _ !l`
                                                                                        6—Supporting        the] !Kj] k a\ ] f l*] d] [ l
                                                                                                                  President-elect

       and intelligence briefings
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Policy
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  After  k_\& \c\Zk`fe,&   k_\& gi\j`[\ek-\c\Zk&
               election, the    president-elect and   Xe[& top
                                                            kfg& advisors
                                                                 X[m`jfij& will
                                                                             n`cc& i\Z\`m\&
                                                                                    receive [X`cp&
                                                                                             daily `e-
                                                                                                   in-
  k\cc`^\eZ\&Yi`\%e^j&fe&dXkk\ij&f]&eXk`feXc&j\Zli`kp.&Fe&X[[`k`fe,&k_\i\&n`cc&Y\&
  telligence briefings on matters of national security. In addition, there will be
  i\^lcXi&d\\k`e^j&fe&dXafi&[fd\jk`Z&Xe[&`ek\ieXk`feXc&[\m\cfgd\ekj&Xj&n\cc&Xj&
  regular meetings on major domestic and international developments as well as
  gfk\ek`Xc&gfc`Zp&[\Z`j`fej.&Q_\&]i\hl\eZp&Xe[&Zfek\ek&f]&k_\j\&d\\k`e^j&n`cc&
  potential policy decisions. The frequency and content of these meetings will
  mXip&[\g\e[`e^&fe&k_\&gi\j`[\ek-\c\Zkxj&dXeX^\d\ek&jkpc\&Xe[&gfc`Zp&X^\e[X.&
  vary  depending on the president-elect's management style and policy agenda.
  AXkX& Zfdg`c\[&
  Data   compiled by  Yp& the
                          k_\& Boston
                               ?fjkfe& @fejlck`e^&
                                          Consulting Diflg&        ]fle[& that
                                                          Group found       k_Xk& Mi\j`[\ekj-\c\Zk&
                                                                                    Presidents-elect
  ?lj_& Xe[&
  Bush         LYXdX& spent
         and Obama      jg\ek& ifl^_cp&
                                 roughly 8   8& to
                                                kf& 9
                                                    9& g\iZ\ek&
                                                       percent f]&   k_\`i& time
                                                                 of their   k`d\& onfe& security
                                                                                        j\Zli`kp& and
                                                                                                  Xe[&
  intelligence briefings, while President-elect Trump spent only 2 percent of his
  `ek\cc`^\eZ\&Yi`\%e^j,&n_`c\&Mi\j`[\ek-\c\Zk&Qildg&jg\ek&fecp&2&g\iZ\ek&f]&_`j&
  k`d\&i\Z\`m`e^&k_\j\&Yi`\%e^j.&Qildg&jkXk\[&glYc`Zcp&k_Xk&_\&[`[&efk&e\\[&k_\d&
  time  receiving these briefings. Trump stated publicly that he did not need them
  fe&X&[X`cp&YXj`j&Xe[&nXj&Zfek\ek&kf&i\cp&fe&k_fj\&Xifle[&_`d&fe&dXkk\ij&f]&`e-
  on a daily basis and was content to rely on those around him on matters of in-
                                           63
  k\cc`^\eZ\&Xe[&eXk`feXc&j\Zli`kp.
  telligence    and national security.63      &*P\\&k_\&k`d\&jkl[p&XeXcpj`j&fe&k_\&gi\m`flj&
                                               (See the time study analysis on the previous
  gX^\.+&S`Z\&Mi\j`[\ek-\c\Zk&J`b\&M\eZ\,&_fn\m\i,&i\Z\`m\[&i\^lcXi&`ek\cc`^\eZ\&
  page.) Vice President-elect Mike Pence, however, received regular intelligence
  Yi`\%e^j&X]k\i&k_\&2016&\c\Zk`fe.
  briefings   after the 2016 election.
       In general, meetings with the president-elect during the transition should
       Fe&^\e\iXc,&d\\k`e^j&n`k_&k_\&gi\j`[\ek-\c\Zk&[li`e^&k_\&kiXej`k`fe&j_flc[&
  lj\& k_\& same
  use the    jXd\& gifZ\jj\j&     k_Xk& will
                     processes that      n`cc& \m\eklXccp&    ^fm\ie& d\\k`e^j&
                                                eventually govern       meetings `e&   in the
                                                                                          k_\& White
                                                                                               T_`k\&
  Eflj\,&`eZcl[`e^&Yi`\%e^&dXk\i`Xcj,&X^\e[X&gi\gXiXk`fe&Xe[&X&Zc\Xi&d\Xej&f]&
  House,    including briefing materials, agenda preparation and a clear means of
  Zfddle`ZXk`e^&k_\&gi\j`[\ekxj&[\Z`j`fej&Xe[&Zfii\jgfe[`e^&XZk`fe&`k\dj.&Q_\&
  communicating the president's decisions and corresponding action items. The
  kiXej`k`fe&g\i`f[&`j&X&^ff[&fggfikle`kp&kf&k\jk&Xe[&i\%e\&gifZ\jj\j&Xe[&c\Xie&kf&
  transition   period is a good opportunity to test and refine processes and learn to
  nfib&kf^\k_\i&Xj&X&k\Xd.&
  work   together as a team.
       Fk& Xcjf& ZXe&
       It also        Y\&_\cg]lc&
                 can be  helpful to kf& Zfe]\i&   n`k_& f#Z`Xcj&
                                        confer with                 ]ifd& the
                                                         officials from   k_\& flk^f`e^&X[d`e`j-
                                                                                  outgoing adminis-
  kiXk`fe&kf&^\k&lg&kf&jg\\[&fe&_fk&Ylkkfe&`jjl\j&k_Xk&n`cc&hl`Zbcp&Zfe]ifek&k_\&
  tration   to get up to speed on hot button issues that will quickly confront the
  e\n&gi\j`[\ek.&Ali`e^&k_\&2008&kiXej`k`fe,&Xj&k_\&%eXeZ`Xc&Zi`j`j&nXj&^ifn`e^,&
  new president. During the 2008 transition, as the financial crisis was growing,
  Mi\j`[\ek-\c\Zk&LYXdXxj&\Zfefd`Z&k\Xd&d\k&n`k_&?lj_&X[d`e`jkiXk`fe&f#Z`Xcj&
  President-elect Obama's economic team met with Bush administration officials
  kf&[`jZljj&k_\&[`jki`Ylk`fe&f]&QiflYc\[&>jj\k&O\c`\]&Mif^iXd&]le[j,&k_\&ZfccXgj\&
  to discuss the distribution of Troubled Asset Relief Program funds, the collapse
                                                                             64
  f]&k_\&Xlkf&`e[ljkip&Xe[&k_\&Xggf`ekd\ek&f]&Xe&Xlkf&ZqXi.
  of the auto industry and the appointment of an auto czar."                    &Fe&fi[\i&kf&Y\&]lccp&
                                                                                 In order to be fully
  gi\gXi\[&
  prepared for ]fi& these
                    k_\j\& types
                            kpg\j& f]& j`klXk`fej,& the
                                   of situations,      k_\& gi\j`[\ek-\c\Zk&
                                                            president-elect Xe[&  and _`j& k\Xd& will
                                                                                       his team   n`cc&
  e\\[&kf&Y\&Yi`\]\[&`e&X[mXeZ\&f]&jlZ_&d\\k`e^j.
  need to be briefed in advance of such meetings.

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Meeting   with the defeated candidate
  Ali`e^&k_\&kiXej`k`fe,&k_\&gi\j`[\ek-\c\Zk&kiX[`k`feXccp&d\\kj&n`k_&_`j&\c\Zk`fe&
  During   the transition, the president-elect traditionally meets with his election
  fggfe\ek.&Q_`j&`j&Xe&fggfikle`kp&kf&i\X#id&k_\&jki\e^k_&Xe[&m`kXc`kp&f]&>d\i`-
  opponent. This is an opportunity to reaffirm the strength and vitality of Ameri-
  ZXxj&[\dfZiXZp&Xe[&kf&cffb&]fi&gfk\ek`Xc&Xi\Xj&f]&Zfddfe&^ifle[&fe&n_`Z_&k_\&
  ca's democracy and to look for potential areas of common ground on which the
  knf& ZXe&
  two        nfib& together.
        can work   kf^\k_\i.& On
                              Le& Kfm.& 17,& 2008,
                                  Nov. 17,   2008,& XYflk& knf& weeks
                                                    about two   n\\bj& after
                                                                       X]k\i& the
                                                                              k_\& gi\j`[\e-
                                                                                   presiden-
  k`Xc&\c\Zk`fe,&Mi\j`[\ek-\c\Zk&LYXdX&d\k&n`k_&_`j&ZXdgX`^e&fggfe\ek,&P\e.&Gf_e&
  tial election, President-elect Obama met with his campaign opponent, Sen. John
  JZ@X`e&f]&>i`qfeX,&Xk&k_\&LYXdX&kiXej`k`fe&f#Z\&`e&@_`ZX^f&kf&[`jZljj&Zi`k`ZXc&
  McCain of Arizona, at the Obama transition office in Chicago to discuss critical
  `jjl\j&f]&`ek\i\jk&kf&Yfk_&d\e,&jlZ_&Xj&DlXekXeXdf&?Xp&Xe[&k_\&nXi&`e&>]^_Xe-
  issues of interest to both men, such as Guantanamo Bay and the war in Afghan-
  `jkXe.&Cfccfn`e^&k_\&d\\k`e^,&k_\p&`jjl\[&X&af`ek&jkXk\d\ek&jXp`e^,&yT\&_fg\&kf&
  istan. Following the meeting, they issued a joint statement saying, "We hope to
  nfib&kf^\k_\i&`e&k_\&[Xpj&Xe[&dfek_j&X_\X[&fe&Zi`k`ZXc&Z_Xcc\e^\j&c`b\&jfcm`e^&
  work   together in the days and months ahead on critical challenges like solving
  fli&%eXeZ`Xc&Zi`j`j,&Zi\Xk`e^&X&e\n&\e\i^p&\Zfefdp,&Xe[&gifk\Zk`e^&fli&eXk`fexj&
  our financial crisis, creating a new energy economy, and protecting our nation's
  j\Zli`kp.z&?p&kXb`e^&k_\&k`d\&]fi&jlZ_&X&d\\k`e^,&k_\&gi\j`[\ek-\c\Zk&ZXe&[\dfe-
  security."  By taking the time for such a meeting, the president-elect can demon-
  jkiXk\&^ff[n`cc&kfnXi[&gfc`k`ZXc&X[m\ijXi`\j&Xe[&gfk\ek`Xccp&^\e\iXk\&dfi\&jlg-
  strate  goodwill toward political adversaries and potentially generate more sup-
  gfik&]fi&gfc`Z`\j&k_Xk&n`cc&Y\&glijl\[&X]k\i&k_\&`eXl^liXk`fe."A\]\Xk\[&gi\j`[\e-
  port for policies that will be pursued after the inauguration. Defeated presiden-

63   Louis Nelson, "Trump: I don't need daily briefings,"Politico, Dec.11,2016. Retrieved fro m https://politi.co/2IusFKs.
63& &Ifl`j&K\cjfe,&yQildg;&F&[fexk&e\\[&[X`cp&Yi`\%e^j,z&*;75>50;,&A\Z.&11,&2016.&O\ki`\m\[&]ifd&_kkgj;//gfc`k`.Zf/2FljCHj.
64   Martha Joynt Kumar, "The 2008-2009 Presidential Transition Through the Voices of Its MXik`Z`gXekj,z&Mi\j`-
64& &JXik_X&Gfpek&HldXi,&yQ_\&2008-2009&Mi\j`[\ek`Xc&QiXej`k`fe&Q_ifl^_&k_\&Sf`Z\j&f]&Fkj&             Participants," Presi-
dential Studies Quarterly 39(4), October 2009, 840. DOI:10.111141741-5705.2009.03712.x. Retrieved from https://bit.
[\ek`Xc&Pkl[`\j&NlXik\icp&39*4+,&LZkfY\i&2009,&840.&ALF;&10.1111/a.1741-5705.2009.03712.o.&O\ki`\m\[&]ifd&_kkgj;//Y`k.
ly/39xD7g1
cp/39oA7^1&


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